               Petition for rehearing denied June 24, 1947                        ON PETITION FOR REHEARING                             (182 P.2d 378)
Consideration has been given to the petition for rehearing filed by Sarah Ritchie, one of respondents. Two of the assignments challenged the opinion on the ground that it does not accurately portray the record in this case. We have again carefully considered the transcript and exhibits. These assignments are without merit.
The third assignment calls our attention to a rather unique situation regarding costs upon this appeal. *Page 376 
Here there is no judgment against Sarah Ritchie. The claim which this court sustained is against the estate. The executor is required to pay this judgment. This respondent filed objections to this claim, and the lower court sustained those objections and claimant prosecuted this appeal. This court reversed the lower court and allowed the claim.
Under the circumstances, appellant will be allowed her costs upon this appeal, as well as in the lower court, but these costs are to be assessed against the estate and to be paid by the executor out of the funds of this estate. The petition for rehearing is denied. *Page 377 